
18 So.3d 68 (2009)
Jeffrey C. BOURGEOIS, Individually and on Behalf of Dale Bourgeois, Mark Bourgeois, Individually and on Behalf of Dale Bourgeois, Rebekah L. Bourgeois, Individually and on Behalf of Dale Bourgeois, and Renee B. Bourgeois
v.
BOOMTOWN, L.L.C. OF DELAWARE, Pinnacle Entertainment, Inc. Ore, M/V Boom Town Belle II and Louisiana A-1 Gaming, a Louisiana Partnership in Commendam.
No. 2009-CC-1357.
Supreme Court of Louisiana.
September 25, 2009.
Denied.
